KeyCitc Ycllow Flag - Negativc Treatment
Distinguished by Bradway v. Town of Southampton, E.D.N.Y.,
Deceinber l, 2011

362 Fed.Appx. 340
This case Was not selected for
publication in the Federal Reporter.

Not for Publication in West's Federal Reporter
See Fed. Rule of Appellate Procedure 32.1
generally governing citation of judicial decisions
issued on or after Jan. 1, 2007. See also Fourth
Circuit Rule 32.1 (Find CTA4 Rule 32.1)
United States Court of Appeals,

Fourth Circuit.

A.ngelic BROWN, Individually and as Personal
Representative of the Estate of Travone L.
Bell, decedent; Trojau Bell, lndividually and
as Personal Represcntative of the Estate of
'l`ravone L. Bell, decedent, Plaintiffs-Appellants,
v.

Officer MIDI)LETON, Individually; Officer
Holt, Individually; Officer Krainita, Individually;
E. Bernardi, Officei', Individually; Detention
Officer Brown, Individually; Al Cannon,
Sheriff of Charleston County in his official and
individual capacities, Defendants»Appellees,
and
Officer Valentine, lndividual]y; Charleston
County Detention Center; City of North
Cliarleston Police Departrnent, Defendants.

No. 08-1937.
|
Argued: Oct. 27, 2009.

Decided: Jan. 15, 2010.

Synopsis

Background: Representatives of deceased's estate brought
§ 1983 action against police departinent, sheriff,
and officers, alleging defendants violated deceased's
constitutional rights by failing to attend to his serious
medical needs following his arrest. The United States
District Court for the District of South Carolina,
Margaret B. Seyrnour, J., entered summary judgment for
defendants and representatives appealedl

l\.\ -.'\ t rlll

Holding: The Court of Appeals held that officers were not
deliberately indifferent to deceased’s medical needs.

Affirmed.

West Hcadnotes (l)

|1] Prisons
Health and Medieal Care

Arresting officers and detention center officer
were not deliberately indifferent to serious
medical needs of pretrial detainee who died
after suffering myocardial infarction caused
by ingesting cocaine; officers repeatedly asked
detainee if he had swallowed any cocaine and
lie consistently denied doing so, and detainee
acted normally while under observation

3 Cases that cite this headnote

*341 Appeal from the United States District Court for
the District of South Carolina, at Charleston. Margaret B.
Seymour, District Judge. (2:06-cv-02454-MBS).

Attorneys and Law Firms

ARGUED: Michele Patrao Forsythe, Michael W. Sautter,
Query, Sautter, Gliserman & Price, LLC, Cliarleston,
South Carolina, for Appellants. Robin Lilley Jackson,
Senn1 McDonald & Leinbacl<, LLC, Ciiarleston, South
Carolina; Gordon Wade Cooper, Buyck Law Firm,
Charleston, South Carolina, for Appellees. ON BRIEF:
Stephanie P. McDonald, Senn, McDonald &. Leinback,
LLC, Charleston, South Carolina, for Appellees Officer
Middleton, Individually, Officer Holtq Individually,
Officer Kramitz, Individually, E. Bernardi, Officer,
Individually; Darren K. Sanders, Buyck & Sanders,
LLC, Mount Pieasant, South Carolina, for Appellees
Detention Officer Brown, Individually, Al Cannon1
Sheriff of Charleston County, in his official and individual
Capacities.

Before KING, Circuit Judge, HAMILTON, Senior
Circuit Judge, and Anthony ]. TRENGA, United States

District Judge for the Eastern District of Virginia, sitting
by designationl

Opinion

Affirmed by unpublished PER CURIAM opinion.

Unpublished opinions are not binding precedent in this
circuit.

PER CURIAM:

**l On February 18, 2005, approximately four and a
half hours after being arrested and while still in custody,
Travone Bell (“Bell”), age 16, suddenly collapsed into
unconsciousness while taking a shower at the Charleston
County Detention Center (the “Detention Center"). He
received immediate medical attention and was taken to
a nearby hospital He died approximately ten days later
without ever regaining consciousness The underlying
cause of his collapse was attributed to acute cocaine
intoxicationl

Following their son's death, Appellants Angelic Brown
and Trojan Bell (“Appellants”), acting individually and
as personal representatives of the Estate of Travone
Bell, filed a claim under 42 U.S.C. § i983 against
the City of North Charleston Police Departinent (the
“Department”), Al Cannon, the Sheriff of Charleston
County, Officers Tony Middleton, Justin Holt, Alan

Kramitz, Ethan Bernardi, George Valentinc, l who were
involved in their son's arrest, *342 and Officer Hans
Brown, who processed their son at the Detention
Center (collectively referred to as the “Appellees”).
Appellants allege that Appellees violated their son's
federal constitutional rights when his urgent medical needs
were not attended to following his arrest on February
18, 2005. The District Court entered summary judgment
against the Appellants. Because the evidence does not
support a reasonable inference that Appellees had actual
knowledge that Bell was in need of medical attention
before his sudden collapse, we must affirm.

I. Back ground

At approximately 12:30 a.m. on February lS, 2005,
Officer Holt stopped a vehicle driven by Bell for speeding
Bell was arrested at the scene, handcuffed, and placed

in the back of Officer Holt's police vehicle. Officers
Middlcton, Kramitz1 Bernardi, and Schmidt arrived to
provide back up and assistance

During a search of Bell's vehicle, the officers found several
empty plastic baggies in the driver's side door. Thcre
was no evidence that these baggies previously contained
any material. Each officer asked Beil whether he was in
possession of anything illegal, including drugs or guns,
and Bell responded in the negative each time. Ofiicers
Bernardi and Middleton noticed that Bell appeared to
have an object in his mouth and removed from Bell's
mouth a baggie containing an off white substance, which
field tested positive for crack-cocaine The Appellants
contend this baggie had holes in it and that the crack-
cocaine in the baggie was moist from Bell's saliva at the

time it was taken from his mouth, 2 while the Appellees
maintain that Ofiicer Middleton made the holes in the
baggie himself in order to field test the substance inside,
and the substance inside the baggie became moist from the
saliva on the baggie's exterior during that procedure.

After removing the baggie from Bell's mouth, Officers
Holt, Middleton, and Krarnitz each asked Bell several
times whether he had swallowed any drugs Bell denied
doing so each time, even after Officer Kramitz cautioned
Bell that if he had swallowed any drugs, he needed to be
treated and that he would not face any additional charges
for narcotics that he had consumed Bell was also offered
immediate medical attention as well as the services of an
ambulance, but Bell continued to deny swallowing any
drugs or any need for medical attention Bell did admit
to smoking earlier in the day several marijuana cigars
laced with cocaine, known as “blunts,” but Bell appeared
calm, acted in a normal manner, and carried on friendly
conversation with the officers.

**2 Because Bell was being charged as an adult, he was
transported to the South Precinct of the North Charleston
Police Department to complete paper work and then to
the Detention Center, where he arrived at 2:48 a.m. At
the Detention Center, Bell was taken to the Juvenile Unit,
where Ofticer Brown performed a strip search on Bell.
Brown was provided with a copy of the incident report

that referenced the drugs taken from Bell's mouth. 3
During *343 his processing of Bell, Officer Brown asked
Bell if he had swallowed any drugs. Bell again denied
swallowing drugs, but again admitted having smoked up
to five cocaine faced marijuana cigars earlier in the day.

Officer Brown checked Bell's mouth for any additional
hidden drugs, without finding any. He also observed that
Bell was acting cahn and compliant, without the abnormal
behavior that is normally associated with cocaine use.

After Officer Brown's searcli, Bell was taken to the
shower room, where he began taking a shower. At
approximately 3:53 a.m., a little over an hour after his
arrival at the Detention Center, Bell fell out of the shower
stall and suffered a series of seizures that rendered him
unconsciousl Tlie officers and medical staff immediately
responded and summoned emergency medical services
that transported Bcll to nearby St. Francis Xavier
Hospital emergency room. ln the emergency room,
Bell's urine tested positive for marijuana and cocaine,
although no blood tests were conducted to determine
the exact amount of drugs in his system. Bell never
regained consciousness and died on March 1, 2005.
The cause of death was listed as cerebral liypoxia due
to subacute myocardial infarction secondary to acute
cocaine intoxication

11. Procedural Historyi'Standard of Review

On August 3, 2006, Appellants filed a complaint against
Appellees in the Court of Common Pleas for Charleston
County, South Carolina, alleging both federal claims
under 42 U.S.C. § 1983 and state law claims pursuant
to the South Carolina Torts Claims Act1 S.C.Code Ann.
§§ 15-78-10, er seq. On September l, 2006, the Appellees
removed the case to federal court. Oii July 22, 2008, the
District Court granted the Appeilees' motion for summary
judgment and remanded the remaining state law claims
after refusing to exercise supplemental jurisdiction The
Appellants have appealed the District Court’s summary
judgment ruling as to their Section 1983 claims We review
a grant of summary judgment de novo, viewing the facts in
the light most favorable to the non-prevailing party, here1
the Appellants. See Ho!faim.' v. Wns/inigtoii Hoines, lnc.
487` F.3d 208, 213 (4th Cir.ZOOT").

111. Analysis

Sectioii 1983, by its own terms, prohibits constitutional
violations under color ofstate law. In this case, Appellants
claim that the Appellees violated their son's constitutional
rights under the Fourteenth and Eighth Arnendments

when they failed to properly attend to his urgent medical
needs following his arrest

Pcrsons within state police custody enjoy the protections
afforded by the Fourteenth and Eighth Amendments,
which include the right to obtain adequate medical care.
Martin v. Gcntii'e, 849 F.2d 863, 866 (4th Cir.1988)
(explaining that the denial of medical care by state
officials can give rise to claims under the Fourteenth
Ainendment‘s due process clause); see also City ofRevere
v. Massac/iusctfs Gen. Hosp., 463 U.S. 239, 244, 103
S.Ct. 2979, 7'," L.Ed.2d 605 (1983) (holding that pretrial
detainees have at least the same protections under the
Fourteenth Arnendment as post-trial detainees have under
the Eighth Amendment); Befc/ier v. Olr`ver, 898 F.2d 32,
34 (4th Cir.l990) (“[T]he Fourteenth Amendment right
of pretrial detainees, like the Eighth Amendment right
of convicted *344 prisoners, requires that government
officials not be deliberately indifferent to any serious
medical needs of the detainee.”); Mi`tcliell v. Alui'.ri',
872 F.2d 577', 581 (4th Cir.l989) (“A violation of the
Eighth Amendinent standard may be used, however, to
determine a due process violation.“) (citing Wlii'senant v_
anim, 739 F.2d 160, 163 n. 4 {4th Cir.l984)).

**3 “[O]nly the unnecessary and wanton infliction of
pain implicates the Eighth Arnendment” and a prison
official must therefore have a “sufficiently culpable state
of inind." Wi.'fson v. Sei!er, 501 U.S. 294, 298, 302-303,
111 S.Ct. 2321, 115 L.Ed.2d 271 (1991). Failure to provide
adequate medical care to a detained individual rises to the
level of a constitutional violation when there is “deliberate
indifference” to an individuals serious medical needs. See
Estelfe v. Gmnble, 429 U.S. 97, 105, 97 S.Ct. 285, 50
L.Ed.2d 251 (1976) (“[D]eliberate indifference to serious
medical needs of prisoners constitutes the ‘unnecessary
and wanton infliction of pain,’ proscribed by the Eighth
Ainendment.") (quoting Gi'egg v. Georgia, 428 U.S. 153,
173, 96 S.Ct. 2909, 49 L.Ed.Zd 859 (1976)). In order to
establish “deliberate indifference,” the Appellants must
show that the arresting or processing officers were “aware
of facts from which the inference could be drawn that a
substantial risk of serious harm exists,” and also that the
officers “rnust also [have drawn] the inference.” Fnrmer v_
Brennnn, 511 U.S. 825, 837, 114 S.Ct. 1970, 128 L.Ed.2d
811 (1994) (defining “deliberate indifference”).

In suinmary, in order to establish liability under Section
1983 based on a claim of inadequate medical care,

Appellants must show the officers had actual knowledge
that Bell had an urgent medical need because of a known
risk. Conduct that is merely negligent, or even reckless,
is insufficientl Fnrnicr, 511 U.S. at 837, 114 S.Ct. 1970
(rejccting the notion that that the common law definition
of“reckless” in civil cases meets the deliberate indifference

standard). 4 For these reasons, “[i]f an officer fails to act
in the face of an obvious risk of which he should have
known, but did not, the officer has not violated the Eighth
or Fourteenth Amendments.” Wn.t)’c.ins v. Cin of Bnrti'e
Creek, 273 F.3d 6821 686 (6th Cir.2001) (citing Farmer, 511
U.S. at 837-838, 114 S.Ct. 1970).

ln assessing whether these officers had the required level of
awareness necessary to establish “deliberate indifference”
to Bell's urgent medical needs, the Court must consider,
based on the summary judgment record, whether Bell's
need for medical attention was both “apparent and
sei'ious.“ Grriyson v. Peed, 195 F.3d 692, 695 (4th
Cir.l999). A medical need is “serious” if it is one that has
been “diagnosed by a physician as mandating treatment
or one that is so obvious that even a lay person would
easily recognize the necessity for a doctor's attention.”
Ilco v. S!ireve, 535 F.3d 225, 241 (4th Cir.2008) (quoting
Henn'erson v. Shem'mii, 196 F.3d 8391 846 (7th Cir.l999)).

A.

Looking at the facts in the light most favorable to the
Appellants, the evidence offered to support Appellants'
claim does not support the inference that the arresting
officers knew that Bell was in need of urgent medical
attention as a result of cocaine consumption lt is
undisputed *345 that the Officers did not see Bell ingest
any cocaine and Bell did not have any tell-tale signs in or
around his mouth of cocaine ingestion when the baggie
was removed. Even if the substance inside the baggie were
moist following its extraction from Bell's mouth, there
was no indication from residue on the outside of the
baggie or otherwise, that the baggie had lost any of its
contents linportantly, Bell repeatedly and consistently
denied swallowing any drugs, while admitting to drug use

earlier in the day. 5 During the several hours that he was
under police observation after his arrest, but before his
collapsc, Bell acted normally throughout his interactions
with the officers without showing any of the behavioral
symptoms associated with cocaine ingestionl While the
arresting officers were rightfully concerned that Bell may

ill #..._~-K tilil

have swallowed drugs, there is no evidence from which
a fact finder could infer that they in fact knew that Bell
had consumed cocaine or that Bell evidenced the need for
medical attention

**4 Tlie Appellants claim that the evidence is sufficient
to make the required showing for the purposes of
surviving summary judgment when one considers Bell's
age and the special protections that South Carolina law
provides to juvenile detainees but which Bell allegedly

did not receive. 6 Whether Bell was properly treated as
a juvenile under South Carolina law does not affect the
constitutional standard by which the Appellees' conduct
is to be judged; and Appellants still must show1 even
if Bell is considered a juvenile for the purposes of their
constitutional clai_rns, that the officers were deliberately
indifferent to a known need for urgent medical attention

rl`he facts presented to the District Court, when viewed in
the light most favorable to the Appellants, do not create
a triable issue of fact concerning whether the arresting
officers in fact knew that Bell was in need of urgent
medical attention For these reasons, the evidence did not
sufficiently support the claim that the arresting officers

violated Bell's constitutional rights 7

B.

With respect to Officer Brown, who processed and
searched Bell at the Detention Center several hours after
his vehicle was initially stopped, it is uncontested that
Officer Brown searched Bell's mouth for drugs without
finding anything and asked Bell if he had swallowed any
drugs1 which Bell again denied. He also observed that
Bell was acting normally, without showing the signs or
symptoms of cocaine ingestion When Bell collapsed while
taking a shower, Officer Brown acted immediately to
provide him with medical attentionl

Even assuming for purposes of summary judgment that
Officer Brown knew that a baggie of crack-cocaine had
been retrieved from Bell's mouth and that Officer *346
Holt had specifically told him to search Bell's mouth,
the evidence remains insufficient to support the inference
that Officer Brown knew that Bell was in need of urgent
medical attention Accordingly, the evidence is insufficient
to create a triable issue of fact as to whether Officer Brown
was “deliberatively indifferent.”

C.

Appellants base their claim against Al Cannon_1 the Sheriff
ofCharleston County, not on his actual involvement in the
arrest or processing of Bell, but rather on his supervisory
responsibilities Under Section 1983, a supervisory official
may be held liable in his personal capacity in certain
circumstances for constitutional injuries inflicted by
his subordinates if those actions were premised on a
recognition that supervisory indifference or tacit approval
of the misconduct could cause the constitutional injury.
Sl'rriw v. Sfroiicf, 13 F.3d 791, 798 (4th Cir.l994). ln this
case, however, since we have found that none of the
officers violated Bell's constitutional rights there is no

basis for Sheriff Cannon's liability under any theory.8
Likcwise, because we have found that none of the officers
violated Bell's constitutional rights1 there is no basis for
the Appellants' claim against the Department itself .

D.

**5 The District Court was also correct in concluding
that the officers were entitled to qualified immunity for
any constitutional violation they may have committed
When government officers are performing a discretionary
function1 they are entitled to a defense of qualified
immunity unless their conduct clearly violates an
established constitutional right that the officer reasonably

Foothotes

would have known to exist. Har'r'or-v v. Fr'r:gern]a', 457
U.S. 800, 102 S.Ct. 2727, 73 L.Ed.2d 396 (1982) (granting
qualified immunity in the Section 1983 context}. Whether
or not a police officer is entitled to qualified immunity is
a question of law for the court, and when there are no
relevant disputed material facts, a court should rule on the
qualified immunity issue at the summary judgment stage.
Wiffr`ngham v. Cr'ooke, 412 F.3d 5531 558 (4th Cir.2005)
(“Ordinarily, the question of qualified immunity should be
decided at the summary judgment stage.”) (citing Wr‘lsou
v. Ki'troe, 337 F.3d 392, 397 (4th Cir.2003)).

ln this case1 as discussed above, none of the officers
violated any of Bell's constitutional rights Without any
evidence demonstrating the officers had knowledge that
Bell was in urgent need of medical care, the officers cannot
have violated a clearly established constitutional right and
are entitled to qualified immunity

IV. Conclusion

For the above reasons, we affirm the judgment of the
District Court.

AFFIRMED.

All Citations

362 Fed.Appx. 340, 2010 wL 145134

1 Although Officer Valentine was named as a defendant in the District Court and is included among the Appellees, the

2

Appe|lants have riot pressed their claim against Officer Valentlne oh appeal

The evidence offered to support this contention is a statement in Officer Holt's supplemental arrest report that describes
the cocaine in the baggie as moist Officer Holt later testified however, that it was the baggie that was moistl and the
contents of the baggie became moist when exposed to the saliva oh the outside after the baggie was removed from
Bell's mouth

Officer Holt contends that he told Officer Brown, the processing officer, that a plastic baggie of crack-cocaine had been
removed from Bell's mouth, and that Be|l could be hiding additional drugs in his mouth, behind his gold teeth Officer
Brown, however, denies receiving this information from Officer Holt.

The District Court remanded Appe||ants' claims under the South Carolina Torts Clalms Act, S.C.Code Ann. §§ 15-78-10,
el seq. `l'he Act waives the state's immunity for losses "proximately caused by a tort of the State," io'. at 15-78-50, and is
riot subject to the ”del'rberate indifference” standard applied to claims under Section 1983.

Appeflants do not contend that the officers were "deliberately lndlffereht" based on their knowledge of his smoking the
cocaine laced marijuana

Specifically, Appellahts allege that the Detention Center‘s own procedures prohibit juveniles from being admitted to the
Detention Center if there is any doubt about their medical conditionl Appellants also contend that under S.C.Code §

s I:\l

63-19-810(8), Officer Holt was required to inform an authorized representative of the State Department of Juvenile Justice
of Bell's arrest and location, and that Bell's parents were required to be notified that he was in custody under S.C.Code
§ 63-19-B10(A), which also places any child under the age of seventeen within the jurisdiction of the South Carolina
Family Court

As Appellants did not raise the issue on appeal, we will not address the District Court's finding that the level offeree used
by the arresting officers to retrieve the baggie from Bell's mouth did not violate Bell's Fourth Amendment rights

The District Court also correctly concluded that Sheriff Cannon cannot be held liable under Section 1983 in his official
capacity See Wili v. Mr`chigan Dept. of State Poiice, 491 U.S. 58, 71, 109 S.Ct. 2304, 105 L.Ed.2d 45 (1989) (“We hold
that neither a state nor its officials acting in their official capacities are ‘persoris' under § 1983."); see also Guliedge v.
Srriari, 691 F.Supp. 947 (D.S.C.1988) aff’d 878 F.2d 379 (4th Cir.1989) (holding that, in South Carolina, sheriffs and
deputies are state officials)_

 

End of Document Z”l 2019 `l"tionison Fieuters No claim to originai U.S. Government Wori<s_

. rlll

